                   Case 1:17-cv-06936-RA-SN Document 163 Filed 12/23/19 Page 1 of 2




           William C. Spence                                                                            12/23/2019
           312-635-4468
           william.spence@spencepc.com

                                                         December 20, 2019

           FILED VIA ECF

           Hon. Sarah Netburn
           United States Magistrate Judge
           Thurgood Marshall
           United States Courthouse, Room 430
           40 Foley Square
           New York, NY 10007


                   Re:      Opterantive, Inc. v. JAND, Inc., d/b/a Warby Parker, Case No. 17-cv-6936:
                            Joint Status Letter Regarding Settlement Discussions.

           Dear Judge Netburn:

                   We write pursuant to this Court’s November 22, 2019, Order (Dkt. 160) requesting an
           update as to the status of the settlement discussions currently taking place between the parties.
           Opternative, Inc. (now known as “Visibly”) and Warby Parker continue to work together to draft
           and revise a final settlement agreement. The parties have exchanged drafts of a proposed settlement
           agreement throughout the past few weeks attempting to clarify outstanding issues. Earlier today,
           Visibly’s counsel provided Warby Parker with the latest revision to the parties’ settlement
           agreement. Visibly’s position is that if Warby Parker accepts the latest version, the completed draft
           of the Settlement Agreement will be voted on by Visibly’s Board of Directors. A meeting of the
           Visibly Board of Directors is currently scheduled for January 9, 2020.

                    Given the position of the parties, we respectfully request this Court extend the stay of
           litigation through January 10, 2020. This will allow the parties time to finalize any outstanding
           issues and adhere to any necessary corporate formalities. Visibly’s counsel has received approval
           from Warby Parker’s counsel to submit the instant letter.

                                                                    Respectfully Submitted,

                     /s/ William C. Spence                           /s/ Peter A. Swanson
                     SpencePC                                        Covington & Burling, LLP
                     515 N. State St.                                One CityCenter
                     Chicago IL, 60654                               850 Tenth St., NW
                                                                     Washington, D.C. 20001-4956

                     Attorney for Plaintiff Visibly, Inc.            Attorney for Defendant, JAND, Inc.




SpencePC      515 N. State Street, Suite 1801, Chicago, IL 60654   www.spencepc.com    P 312.404.8882      F 312.635.2299
           Case 1:17-cv-06936-RA-SN Document 163 Filed 12/23/19 Page 2 of 2


                                   CERTIFICATE OF SERVICE


    The undersigned certifies that on December 20, 2019, a copy of the foregoing Joint Status Letter
    Regarding Settlement Discussions has been filed with the Court’s ECF filing system with
    electronic copies served by e-mail upon:

    Richard L. Rainey
    Peter A. Swanson
    One CityCenter
    850 Tenth Street, NW
    Washington, D.C. 20001-4956
    rrainey@cov.com
    pswanson@cov.com

    Phillip A. Irwin
    Sarah Mac Dougall
    The New York Times Building
    620 Eighth Avenue
    New York, New York 10019-1405
    pirwin@cov.com
    smacdougall@cov.com

    Ali Mojibi Yazdi
    1999 Avenue of the Stars
    Los Angeles, CA 90067-4643
    (424) 332-4800
    amojibi@cov.com

    Attorneys for Defendant JAND, Inc.
    d/b/a Warby Parker




                                                               /s/ Michael K. McDonough




GRANTED.

SO ORDERED.


December 23, 2019
New York, New York
